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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                        :       CHAPTER 7
                                              :
HCG SOFTWARE, LLC,                            :       CASE NO. 15-63347-CRM
                                              :
         Debtor.                              :



AMENDMENT TO SCHEDULE E – CREDITORS HOLDING UNSECURED PRIORITY
          CLAIMS, SUMMARY OF SCHEDULES, AND MATRIX

         COMES NOW HCG Software, LLC, Debtor in the above-styled Chapter 7 proceeding,

and hereby amends its Schedules filed July 16, 2015 (Doc. No. 1) and amended on August 26,

2015 (Doc. No. 24) as follows:

   1.       Debtor hereby substitutes its Schedule E – Creditors Holding Unsecured Priority

            Claims – Amended attached hereto as Exhibit “A” in order to add the City of Portland

            as a creditor and to add an additional tax claim of the State of Oregon.

   2.       Debtor hereby substitutes its Summary of Schedules - Amended attached hereto as

            Exhibit “B” for those filed on August 26, 2015 (Doc. No. 24).

   3.       Debtor hereby amends its Creditor Matrix to add the following creditor:

            City of Portland
            1224 SW 4th Avenue
            Portland, OR 97204

            as set forth on the Supplemental List of Creditors attached hereto as Exhibit “C”.
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   4.      A Verification by Debtor with respect to this amendment is attached hereto as Exhibit

           “D”.

        This 30th day of September, 2015.


                                                   LAW OFFICE OF
                                                   ROBERT B. CAMPOS

                                                   Counsel for Debtor

                                                   By:    /s/Robert B. Campos
                                                          Georgia Bar No. 107357
                                                          rcampos@camposlawoffice.net
                                                   2774 N. Cobb Pkwy.
                                                   Suite 109 #317
                                                   Kennesaw, Georgia 30144
                                                   (404) 388-3122




                                               2
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                             EXHIBIT “A” FOLLOWS
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B6E (Official Form 6E) (4/13)


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  In re         HCG Software, LLC                                                                                                  Case No.            15-63347
                                                                                                                      ,
                                                                                                Debtor

     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS - AMENDED
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             3         continuation sheets attached
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 B6E (Official Form 6E) (4/13) - Cont.




   In re         HCG Software, LLC                                                                                           Case No.      15-63347
                                                                                                                ,
                                                                                                  Debtor

      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS - AMENDED
                                                                                      (Continuation Sheet)


                                                                                                                        Wages, salaries, and commissions
                                                                                                                                      TYPE OF PRIORITY
                                                             C                                                           C    U   D
             CREDITOR'S NAME,                                O
                                                                 Husband, Wife, Joint, or Community
                                                                                                                         O    N   I                      AMOUNT NOT
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           AND MAILING ADDRESS                               D
                                                             E   H         DATE CLAIM WAS INCURRED
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            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                     I    Q   U
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           AND ACCOUNT NUMBER                                T   J                                                       N    U   T                                AMOUNT
              (See instructions.)
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                                                                                                                         N    A
                                                                                                                                                                   PRIORITY
                                                                                                                         T    T
Account No.                                                          80 hours of paid time off                                E
                                                                                                                              D

Christina Smith
435 NE Cook                                                                                                                                              0.00
Portland, OR 97212
                                                                 -

                                                                                                                                             3,384.62              3,384.62
Account No.                                                          60 hours of paid time off

Eric Smith
1447 NW 12th Ave, Unit 214                                                                                                                               0.00
Portland, OR 97209
                                                                 -

                                                                                                                                             2,250.00              2,250.00
Account No.                                                          104 hours of paid time off

Lori Forbess
18399 SW Santoro Drive                                                                                                                                   0.00
Beaverton, OR 97007
                                                                 -

                                                                                                                                             4,350.00              4,350.00
Account No.                                                          204 hours of paid time off

Molly Bradley
6420 NE 30th Ave                                                                                                                                         0.00
Portland, OR 97211
                                                                 -

                                                                                                                                             9,317.31              9,317.31
Account No.                                                          31 hours of paid time off

Sheri Finucane
19196 SE Tillstrom Rd                                                                                                                                    0.00
Damascus, OR 97089
                                                                 -

                                                                                                                                               387.50                387.50

Sheet _____
       1    of _____
               3      continuation sheets attached to                                                                 Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                      (Total of this page)           19,689.43            19,689.43




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   In re         HCG Software, LLC                                                                                           Case No.      15-63347
                                                                                                                ,
                                                                                                  Debtor

      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS - AMENDED
                                                                                      (Continuation Sheet)


                                                                                                                        Wages, salaries, and commissions
                                                                                                                                      TYPE OF PRIORITY
                                                             C                                                           C    U   D
             CREDITOR'S NAME,                                O
                                                                 Husband, Wife, Joint, or Community
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                                                                                                                                                                   PRIORITY
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Account No.                                                          June 2015                                                E
                                                                                                                              D

Tracy Blom                                                           Commissions
5915 NE Mason St                                                                                                                                         0.00
Portland, OR 97218
                                                                 -

                                                                                                                                             1,375.00              1,375.00
Account No.




Account No.




Account No.




Account No.




Sheet _____
       2    of _____
               3      continuation sheets attached to                                                                 Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                      (Total of this page)            1,375.00              1,375.00




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 B6E (Official Form 6E) (4/13) - Cont.




   In re         HCG Software, LLC                                                                                            Case No.      15-63347
                                                                                                                 ,
                                                                                                  Debtor

      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS - AMENDED
                                                                                      (Continuation Sheet)
                                                                                                                          Taxes and Certain Other Debts
                                                                                                                           Owed to Governmental Units
                                                                                                                                       TYPE OF PRIORITY
                                                             C                                                            C    U   D
             CREDITOR'S NAME,                                O
                                                                 Husband, Wife, Joint, or Community
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                                                                                                                                                                    PRIORITY
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Account No.                                                          2014                                                      E
                                                                                                                               D

City of Portland                                                     2014 Partnership Taxes
1221 SW 4th Avenue                                                                                                                                        0.00
Portland, OR 97204
                                                                 -

                                                                                                                                                200.00                200.00
Account No.                                                          For Notice Purposes Only

Internal Revenue Service
401 W. Peachtree St.                                                                                                                                      0.00
Stop-334D
                                                                 -
Atlanta, GA 30308

                                                                                                                                                  0.00                    0.00
Account No.                                                          Various

State of Oregon                                                      Quarterly payroll taxes
PO Box 14999                                                                                                                                              0.00
Salem, OR 97309-0990
                                                                 -

                                                                                                                                              8,819.20              8,819.20
Account No.                                                          2014

State of Oregon                                                      2014 Partnership Taxes
PO Box 14999                                                                                                                                              0.00
Salem, OR 97309-0990
                                                                 -

                                                                                                                                                150.00                150.00
Account No.




Sheet _____
       3    of _____
               3      continuation sheets attached to                                                                  Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                       (Total of this page)            9,169.20              9,169.20
                                                                                                                          Total                           0.00
                                                                                                (Report on Summary of Schedules)             30,233.63            30,233.63

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                             EXHIBIT “B” FOLLOWS
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B6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                        Northern District of Georgia - Atlanta Division
  In re          HCG Software, LLC                                                                            Case No.      15-63347
                                                                                                       ,
                                                                                      Debtor
                                                                                                              Chapter                     7




                                                      SUMMARY OF SCHEDULES - AMENDED
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED          NO. OF          ASSETS                 LIABILITIES               OTHER
                                                         (YES/NO)         SHEETS

A - Real Property                                              Yes           1                         0.00


B - Personal Property                                          Yes           4                 1,098,187.89


C - Property Claimed as Exempt                                 No            0


D - Creditors Holding Secured Claims                           Yes           1                                          494,148.07


E - Creditors Holding Unsecured                                Yes           4                                           30,233.63
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes           13                                     3,298,064.71
    Nonpriority Claims

G - Executory Contracts and                                    Yes           5
   Unexpired Leases

H - Codebtors                                                  Yes           1


I - Current Income of Individual                               No            0                                                                      N/A
    Debtor(s)

J - Current Expenditures of Individual                         No            0                                                                      N/A
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                   29


                                                                       Total Assets            1,098,187.89


                                                                                        Total Liabilities           3,822,446.41




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B 6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                        Northern District of Georgia - Atlanta Division
  In re           HCG Software, LLC                                                                           Case No.   15-63347
                                                                                                          ,
                                                                                        Debtor
                                                                                                              Chapter                      7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                  Amount

              Domestic Support Obligations (from Schedule E)

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)

              Student Loan Obligations (from Schedule F)

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)

                                                                             TOTAL


              State the following:

              Average Income (from Schedule I, Line 12)


              Average Expenses (from Schedule J, Line 22)

              Current Monthly Income (from Form 22A-1 Line 11; OR,
              Form 22B Line 14; OR, Form 22C-1 Line 14 )


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column

              4. Total from Schedule F


              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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                             EXHIBIT “C” FOLLOWS




                     SUPPLEMENTAL LIST OF CREDITORS




        City of Portland
        1224 SW 4th Avenue
        Portland, OR 97204
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                                      EXHIBIT “D”



                                     VERIFICATION

       I, William C. Smith, Jr., in my capacity as Managing Member of Debtor HCG Software,

LLC, declare under penalty of perjury that the foregoing AMENDMENT TO SCHEDULE E –

CREDITORS HOLDING UNSECURED PRIORITY CLAIMS, SUMMARY OF SCHEDULES,

AND MATRIX is true and correct to the best of my knowledge, information and belief.



       9/23/15                                                   /s/ William C. Smith, Jr.
Date                                                    William C. Smith, Jr.
                                                        Managing Member
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                                CERTIFICATE OF SERVICE

        This is to certify that I have this day served a true and correct copy of the foregoing
AMENDMENT TO SCHEDULE E – CREDITORS HOLDING UNSECURED PRIORITY
CLAIMS, SUMMARY OF SCHEDULES, AND MATRIX upon all those parties listed below
by depositing same in the U. S. mail in a properly addressed envelope with adequate postage
affixed thereon to assure delivery to the parties set forth below.

       Michael J. Bargar
       Arnall Golden Gregory LLP
       171 17th Street, NW, Suite 2100
       Atlanta, GA 30363-1031

       Office of the U. S. Trustee
       362 Richard Russell Building
       75 Ted Turner Drive, SW
       Atlanta, GA 30303

       HCG Software, LLC
       507 Avery Creek Pointe
       Woodstock, GA 30188

       State of Oregon
       PO Box 14999
       Salem, OR 97309-0990

       City of Portland
       1224 SW 4th Avenue
       Portland, OR 97204



       This 30th day of September, 2015.

                                                                 /s/Robert B. Campos
                                                          Georgia Bar No. 107357
                                                          rcampos@camposlawoffice.net
Law Office of Robert B. Campos
2774 N. Cobb Pkwy.
Suite 109 #317
Kennesaw, Georgia 30144
(404) 388-3122
